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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

---------------------------------x
                                    :                          Chapter 11
In re:                              :
                                    :                          Case No. 15-11880 (BLS)
QUIKSILVER, INC., et al.,           :
                                    :                          Jointly Administered
                          Debtors.1 :
                                    :
                                    :                          Obj. Due: Mar 9, 2016, at 4:00 p.m. (Eastern)
---------------------------------x

    NOTICE OF SECOND MONTHLY FEE APPLICATION FOR COMPENSATION FOR
     SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED BY
     DELOITTE TAX LLP AS TAX ADVISOR TO THE DEBTORS FOR THE PERIOD
            FROM NOVEMBER 1, 2015 THROUGH DECEMBER 31, 2015

                  PLEASE TAKE NOTICE that the debtors and debtors-in-possession in the above-

captioned jointly administered bankruptcy cases (collectively, the “Debtors”) filed the Second

Monthly Fee Application For Compensation For Services Rendered And Reimbursement Of

Expenses Incurred By Deloitte Tax LLP As Tax Advisor To The Debtors For The Period From

November 1, 2015 Through December 31, 2015 (the “Application”).

                  PLEASE TAKE FURTHER NOTICE that objections, if any, to the Application

or the relief requested therein must be made in writing, filed with the Bankruptcy Court (as

defined below), and served so as to be received by the following parties no later than March 9,

2016 at 4:00 p.m. (Eastern):




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     The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:
     Quiksilver, Inc. (9426), QS Wholesale, Inc. (8795), DC Direct, Inc. (8364), DC Shoes, Inc. (0965), Fidra, Inc.
     (8945), Hawk Designs, Inc. (1121), Mt. Waimea, Inc. (5846), Q.S. Optics, Inc. (2493), QS Retail, Inc. (0505),
     Quiksilver Entertainment, Inc. (9667), and Quiksilver Wetsuits, Inc. (9599). The address of the Debtors’
     corporate headquarters is 5600 Argosy Circle, Huntington Beach, California 92649.
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              (i) counsel to the Debtors, Skadden, Arps, Slate, Meagher & Flom LLP, 300
South Grand Avenue, Suite 3400, Los Angeles, California 90071, Attn: Van C. Durrer, II, Esq.
(Van.Durrer@skadden.com), and 155 North Wacker Drive, Chicago, Illinois 60606, Attn: John
K. Lyons, Esq. (John.Lyons@skadden.com);

                (ii) counsel to the agent for the Debtors’ postpetition secured term loan facility,
Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois 60654, Attn: Patrick J. Nash, Jr.
(patrick.nash@kirkland.com), and Morris Nichols Arsht & Tunnell LLP, 1201 North Market
Street, 16th Floor, P.O. Box 1347, Wilmington, Delaware 19899-1347, Attn: Robert J. Dehney,
Esq. (rdehney@mnat.com);

               (iii) counsel to the agent for the Debtors’ prepetition and postpetition secured
revolving loan facilities, Reimer & Braunstein LLP, Three Center Plaza, Boston, Massachusetts
02108, Attn: David S. Berman, Esq. (dberman@riemerlaw.com), and Times Square Tower,
Seven Times Square, Suite 2506, New York, New York 10036, Steven E. Fox, Esq.
(sfox@riemerlaw.com), and Womble Carlyle Sandridge & Rice, LLP, 222 Delaware Avenue,
Suite 1501, Wilmington, Delaware 19801, Attn: Steven K. Kortanek, Esq.
(skortanek@wcsr.com);

              (iv) counsel to the indenture trustee for the Debtors’ prepetition senior secured
notes, Seward & Kissel LLP, One Battery Park Plaza, New York, New York 10004, Attn: John
R. Ashmead, Esq. (ashmead@sewkis.com);

               (v) counsel to the indenture trustee for the Debtors’ prepetition senior unsecured
notes, Foley & Lardner, LLP, 321 N. Clark Street, Suite 2800, Chicago, Illinois 60654, Attn:
Mark L. Prager, Esq. (mprager@foley.com), and U.S. Bank National Association, Global
Corporate Trust Services, 100 Wall Street, New York, New York 10005, Attn: Justin L. Shearer,
Vice President (justin.shearer@usbank.com);

              (vi) counsel to the Official Committee of Unsecured Creditors, Akin Gump
Strauss Hauer & Feld LLP, One Bryant Park, Bank of America Tower, New York, New York
10036-6745, Attn: Michael S. Stamer, Esq. (mstamer@akingump.com), and Pepper Hamilton
LLP, Hercules Plaza, Suite 5100, 1313 N. Market Street, Wilmington, Delaware 19899-1709,
Attn: David B. Stratton, Esq. (strattod@pepperlaw.com); and

                (vii) the Office of the United States Trustee for the District of Delaware, 844 King
Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn: Mark S. Kenney, Esq. (fax:
(302) 573-6497)).




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              PLEASE TAKE FURTHER NOTICE that if an objection is properly filed and

served in accordance with the above procedures, a hearing (“Hearing”) on the Application will

be held at a time and date to be determined before the Honorable Brendan L. Shannon, Chief

United States Bankruptcy Judge for the District of Delaware, in the United States Bankruptcy

Court for the District of Delaware (the “Bankruptcy Court”), 6th Floor, Courtroom 1, 824

Market Street, Wilmington, Delaware 19801. Only objections made in writing and timely filed

and received will be considered by the Court at such Hearing.




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                 PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS TO

THE APPLICATION ARE TIMELY FILED AND RECEIVED IN ACCORDANCE

WITH THE ABOVE PROCEDURES, THE RELIEF REQUESTED IN THE

APPLICATION MAY BE GRANTED WITHOUT FURTHER NOTICE OR HEARING.

Dated:     Wilmington, Delaware
           February 17, 2016

                                   SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

                                   /s/ Van C. Durrer, II
                                   Van C. Durrer, II (I.D. No. 3827)
                                   Annie Z. Li
                                   300 South Grand Avenue, Suite 3400
                                   Los Angeles, California 90071
                                   Telephone: (213) 687-5000
                                   Fax: (213) 687-5600

                                   - and -

                                   Mark S. Chehi, Esq. (I.D. No. 2855)
                                   Dain A. De Souza (I.D. No. 5737)
                                   One Rodney Square
                                   P.O. Box 636
                                   Wilmington, Delaware 19899-0636
                                   Telephone: (302) 651-3000
                                   Fax: (302) 651-3001

                                   - and -

                                   John K. Lyons
                                   Jessica S. Kumar
                                   155 N. Wacker Dr.
                                   Chicago, Illinois 60606
                                   Telephone: (312) 407-0700
                                   Fax: (312) 407-0411

                                   Counsel for Debtors and Debtors in Possession




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